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 4   Attorney for Defendant
     Charles Barksdale
 5

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                            IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                     EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                              Case No. CR. S-08-263 FCD
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                    Plaintiff,                              REQUEST TO BE RELIEVED AS
12                                                          COUNSEL; ORDER
            vs.                                             Date: August 17, 2009
13                                                          Time: 10:00 a.m.
     CHARLES BARKSDALE,
14                                                          Hon. FRANK C. DAMRELL, JR.
                    Defendant.
15

16          The undersigned respectfully requests to be relieved as counsel of record in the above matter.

17   The defendant has been sentenced and the undersigned is not representing the defendant on any post

18   sentencing issues including, but not limited to, the filing of a Notice of Appeal.

19                                                         Respectfully submitted,

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     Dated: August 17, 2009                            /s/ Patrick K. Hanly
21                                                         Attorney For Defendant
                                                           Charles Barksdale
22
              IT IS SO ORDERED:
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24   Dated August 18, 2009

25                                               _______________________________________
26                                               FRANK C. DAMRELL, JR.
                                                 UNITED STATES DISTRICT JUDGE
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